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                           UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF CONNECTICUT
                                 BRIDGEPORT DIVISION

 In re:                                              Chapter 11

 HO WAN KWOK,                                        Case No: 22-50073 (JAM)

                        Debtor.



     APPELLANT’S DESIGNATION OF ITEMS TO BE INCLUDED IN THE RECORD
          ON APPEAL AND STATEMENT OF ISSUES TO BE PRESENTED

          Pursuant to Fed. R. Bankr. P. 8009(a), the appellant and debtor Ho Wan Kwok, (the

“Debtor”), by his undersigned attorneys, Zeisler & Zeisler, P.C., respectfully submits his

designation of items to be included in the record on appeal and his statement of issues to be

presented in connection with his appeal of the United States Bankruptcy Court’s August 2, 2022,

Order Denying Motion for Relief from Judgment/Order, (ECF No. 667).

I.        Designation of Items to be Included in the Record on Appeal

          1. August 2, 2022, Order Denying Motion for Relief from Judgment/Order, (ECF No.

             667).

          2. Transcript of July 8, 2022, Hearing before the Hon Julie A. Manning on the Application

             to Appoint Trustee filed by the Office of the United States Trustee.

          3. July 8, 2022, Order Granting Appointment of Chapter 11 Trustee ((ECF No. 521).

          4. July 15, 2022, Motion for Relief from Judgement/Order Under Rule 9024 filed by the

             Debtor (ECF No. 561).

          5. July 20, 2022, Objection to Motion for Relief from Judgement/Order Under Rule 9024

             filed by the Chapter 11 Trustee (ECF No. 575).
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      6. Transcript of July 21, 2022, Status Conference before the Hon Julie A. Manning (ECF

         No. 610).

      7. July 22, 2022, Scheduling Order issued by the Hon. Julie A. Manning setting an August

         1, 2022 hearing on, among other things, the Debtor’s Motion for Relief from

         Judgement/Order Under Rule 9024 (ECF No. 596).

      8. Response of the United States Trustee to Motion for Relief from Judgment/Order

         Under Rule 9024 (ECF No. 615).

      9. Pacific Alliance Asia Opportunity Fund L.P.'’s Position Statement in Joint Response

         to (I) Debtor’s Motion for Relief from Order Appointing Luc A. Despins as Chapter 11

         Trustee, and (II) Application of Chapter 11 Trustee for Entry of Order, Pursuant to

         Bankruptcy Code Sections 327, 328, and 330 and Bankruptcy Rules 2014 and 2016,

         Authorizing and Approving Retention and Employment of Paul Hastings LLP as

         Counsel to Chapter 11 Trustee (ECF No. 618).

      10. Creditor’s Committee’s Objection to Debtor’s Motion for Relief from Order

         Appointing Luc A. Despins as Chapter 11 Trustee (ECF No. 621).

      11. Creditors Rui Ma, Zheng Wu and Weican Meng’s Joinder to Objection of the Official

         Committee of Unsecured Creditors to the Debtor’s Motion for Relief from Order

         Appointing Luc A. Despins as Chapter 11 Trustee (ECF No. 628).

      12. The Debtor’s Witness and Exhibit List for August 1, 2022 hearing (ECF No. 644).

      13. Transcript of August 1, 2022, hearing before the Hon. Julie A. Manning (ECF No. 714).

      14. Notice of Appeal to District Court (ECF No. 711).

      15. Amended Notice of Appeal to District Court (ECF No. 715).

II.   Statement of Issues To Be Presented
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       1.     Whether the Bankruptcy Court erred in finding that “no grounds exist to terminate

the appointment of Chapter 11 Trustee or remove the Chapter 11 Trustee appointed in the Debtor's

case [pursuant to 11 U.S.C. § 324]” when there was no application or motion to remove the Trustee

pursuant to 11 U.S.C. § 324 filed and the issue of Trustee removal pursuant to 11 U.S.C. § 324

was not before the Bankruptcy Court.

       2.     Whether the Bankruptcy Court erred in finding that “no grounds exist to terminate

the appointment of Chapter 11 Trustee or remove the Chapter 11 Trustee appointed in the Debtor's

case [pursuant to 11 U.S.C. § 324]” without i) affording the Debtor the opportunity to conduct

discovery on the issue of whether the Trustee should be removed pursuant to 11 U.S.C. § 324 in

accordance with Fed. R. Bankr. P. 9014, and ii) conducting an evidentiary hearing.


Dated at Bridgeport, Connecticut, this 23rd day of August 2022.

                                                     THE DEBTOR,
                                                     HO WAN KWOK

                                                     /s/ Eric Henzy
                                                     Eric Henzy (ct12849)
                                                     Stephen M. Kindseth (ct14640)
                                                     Aaron A. Romney (ct28144)
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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on the 23rd day of August 2022 a copy of the foregoing

Appellant’s Designation of Items to Be Included in the Record on Appeal and Statement of Issues

to be Presented was filed electronically and emailed via the Court’s CM/ECF electronic noticing

system. Parties may access this filing through the Court’s CM/ECF System.

                                                   /s/ Eric A. Henzy
                                                   Eric A. Henzy
